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                             UNITED STATES BANKRUPTCY COURT                       SF00101 (rev 07/2010)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                               Case Number:
       SSN: NA               EIN: NA                         10−93904−BHL−11
    Debtor(s)

                           NOTICE WITH HEARING OPPORTUNITY

     A(n) Motion to File Claim After Claims Bar Date was filed with the Clerk of this Court on
May 11, 2011, by Creditor Lytle Street Development.

      NOTICE IS HEREBY GIVEN that any objection to the relief requested in the
above−referenced document must be filed by June 21, 2011 at http://ecf.insb.uscourts.gov which
requires a user account and password or in writing with the Clerk's Office. Any objection must be
served on the attorney for the filing party in accordance with Local Rule S.D.Ind. B−9013−1(d).

      If no objections are filed, the Court may enter an appropriate order granting the relief
requested, and such other related relief as may be required, without conducting an actual hearing.

      If any objections are timely filed, the Court will hold a hearing on:

      Date: June 24, 2011
      Time: 10:00 AM EDT
      Place: Rm. 103 Federal Building, 121 W. Spring St., New Albany, IN 47150

      Motions for continuances must be filed as soon as the cause for continuance or delay is
discovered by the party requesting the continuance, and no later than seven (7) days before the
date of the hearing. Motions for continuances filed less than seven (7) days before the hearing
date will be granted only upon a showing of good cause. Every motion for continuance shall
denominate whether opposing counsel objects to the continuance, or the efforts made to contact
opposing counsel to make such an inquiry.

       The above−referenced document is available on the Court's PACER site at
http://pacer.insb.uscourts.gov or it may be requested from the filer.

Dated: May 23, 2011                                KEVIN P. DEMPSEY, CLERK
                                                   U.S. BANKRUPTCY COURT
